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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

PERRY HOPMAN                                                                    PLAINTIFF

v.                              Case No. 4:18-cv-00074-KGB

UNION PACIFIC RAILROAD                                                        DEFENDANT

                                           ORDER

       The Court conducted a telephone conference with the parties on September 24, 2020,

during which Union Pacific Railroad (“Union Pacific”) orally moved to continue the trial

scheduled to begin September 28, 2020. Mr. Hopman opposed the motion. After considering the

statements made on the record and arguments from counsel, the Court determined that the trial

should be continued. This case is removed from the Court’s trial calendar for the week of

September 28, 2020, and the Court will enter an amended final scheduling resetting the trial by

separate order.

       So ordered this the 25th day of September, 2020.



                                           _________________________________
                                           Kristine G. Baker
                                           United States District Court Judge
